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. Exhibit 1

Form of Rejection Notice

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter ll
MATTRESS FIRM, INC., et al.,1 Case No. 18-12241 (CSS)
Debtors. (Jointly Administered)
Ref. pocket No. _

 

 

NOTICE OF REJECTION OF CERTAIN
UNEXPIRED LEASES OF NONRESIDENTIAL REAL PROPERTY
AND ABANDONMENT OF PERSONAL PROPERTY IN CONNECTIGN THEREWITH

 

 

THIs NoTICE SEEKS To REJECT cERTAIN UNEXPIRED LEASES AND
sUBLEAsEs oF NoNREsII)ENTlAL REAL PRoPERTY. LANI)LoRDs RECEIVING
THIS NoTICE sHoULD RElew THE scHEDULE oF LEASES ATTACHED
HERETo As ANNEX A To DETERMINE wHETHER THIS NoTICE AFFECTS
THEIR LEASE(s)

 

 

PLEASE TAKE NOTICE that, on October 5, 2018, Mattress Firm, Inc. and its
affiliated debtors and debtors in possession (collectively, the “Debtors”) each filed a voluntary
petition for relief under chapter ll of the Bankruptcy Code in the United States Bankruptcy
Court for the District of Delaware (the “Court”).

PLEASE TAKE FURTHER NOTICE that, on l |, 2018, the Court entered an
order approving, among other relief, certain procedures for the rejection of the Debtors’
unexpired real property leases and the abandonment of the Debtors’ personal property located at
such leased premises [Docket No.___] (the “Reiection Procedures Order”).2 An electronic copy
of the Lease Rejection Procedures Order can found at http://dm.epiql l .com/MFLeaseRejection.

PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Lease
Rejection Procedures Order, the Debtors hereby give notice of their intent to reject the lease(s)
set forth on A}mggg_A attached hereto (including any amendments or modifications thereto or
subleases thereof, each, a “Specified Lease,” and collectively, the “Specified Leases”), effective
as of the date of rejection set forth on A|mg_A (the “Re]`ection Date”).

 

l The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter ll
cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
noticing and claims agent at http://dm.epiql l.com/MattressFirm or by contacting counsel for the Debtors.

2 All capitalized terms used but not otherwise defined in this notice shall have the meanings ascribed to such terms
in the Rejection Procedures Order.

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. PLEASE TAKE FURTHER NOTICE that any personal property located at the
premises subject to the Specified Leases, including inventory, fumiture, fixtures, equipment or
other materials remaining at the premises subject to the Specified Leases as of the Rejection
Date, shall be deemed abandoned by the Debtors to the applicable counterparty to the Specified

Leases (each a “ ease Counterpa;ty” and, collectively, the “Lease Counterparties”).

PLEASE TAKE FURTHER NOTICE that, with respect to any personal property that
is leased to the Debtors by a third party or owned by a third party, the Debtors shall contact such
third party with respect to such personal property, and the third party will remove or cause to be
removed such personal property from the leased premises prior to the Rejection Date. For the
avoidance of doubt, if any such personal property remains on the leased premises after the
Rejection Date, the Lease Counterparty may dispose of any and all such property.

PLEASE TAKE FURTHER NOTICE that if the Debtors have deposited funds with a
Lease Counterparty as a security for their performance under a Specified Lease or other similar
arrangement (each a “Deposit”), to the extent the Lease Counterparty retains all or a portion of
the Deposit, such Lease Counterparty shall not be permitted to set off, recoup, apply, or
otherwise use such Deposit without the prior authorization of the Court, unless the Debtors and
the applicable Lease Counterparty otherwise agree, in consultation with the Backstop Group.

PLEASE TAKE FURTHER NOTICE that any party objecting to the Debtors’
rejection of a Specified Lease and/or abandonment of personal property shall file with the Court
and serve a written objection (each an “Objection”) so as to be actually received by the following

. parties no later than 4:00 p.m. prevailing Eastern Time on the fourteenth (l4th) day after the
Debtors’ filing and service of the relevant Rejection Notice (such deadline, the “Ob]`ection
Deadline”): (i) the Debtors, Mattress Firm, Inc., 10201 S. Main Street, Houston, Texas 77025,
Attn: Kindel Elam; (ii) proposed counsel to the Debtors, Sidley Austin LLP, One South
Dearborn, Chicago, Illinois 60603, Attn: Bojan Guzina and Matthew E. Linder; (iii) proposed
co-counsel to the Debtors, Young Conaway Stargatt & Taylor, LLP, 1000 North King Street,
Wilmington, Delaware l9801, Attn: Edmon L. Morton and Ashley E. Jacobs; (iv) the U.S.
Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Linda
Richenderfer; (v) counsel to the DIP Agents and Prepetition ABL Agent, Paul Hastings LLP,
MetLife Building, 200 Park Avenue, New York, New York 10166, Attn: Andrew V. Tenzer and
Michael E. Comerford, Richards, Layton & Finger, P.A., One Rodney Square, 920 North King
Street, Wilmington, Delaware 19801, Attn: Mark D. Collins and Jason M. Madron, and Morgan,
Lewis & Bockius LLP, One Federal Street, Boston, Massachusetts 02110-1726, Attn: Marc R.
Leduc; (vi) counsel to the Prepetition Term Loan Lender, Linklaters LLP, 601 13th Street NW
#400, Washington, D.C. 20005, Attn: Amy Edgy, and 1345 6th Avenue, NeW York, New York
10105, Attn: Christopher Hunker; (vii) co-counsel to the Backstop Group, Latham & Watkins
LLP, 885 Third Avenue, New York, New York 10022, Attn: Adam Goldberg, and Ashby &
Geddes, P.A., 500 Delaware Avenue, 8th Floor, Wilmington, Delaware 19801, Attn: William
Bowden; and (viii) the Notice Parties. Each Objection must state with specificity the legal and
factual grounds for the objection to the rejection of the relevant Specified Leases.

PLEASE TAKE FURTHER NOTICE that if no Objection is filed and served in
. compliance with the foregoing, the Debtors may submit to the Court after the Rejection

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. Objection Deadline a proposed order approving the rejection of the Specified Leases,
substantially in the form attached hereto as A|mgx__E and the Court may enter such order
without a hearing.

PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Lease
Rejection Procedures Order, if no Objection is properly filed and served in compliance with the
foregoing, the rejection of each Lease shall become effective as of the Rejection Date, which
shall be the latest to occur of the following: (i) the Rejection Date specified in the Rejection
Notice; and (ii) the date on which the Debtors surrender possession of the store subject to the
relevant Specified Lease to the Lease Counterparty by notifying the affected Lease Counterparty
in writing thereof and (A) have turned over the store keys, key codes, or security codes, if any, to
the Lease Counterparty or (B) have notified the affected Lease Counterparty in Writing that the
store keys, key codes, or security codes, if any, are not available and that the Lease Counterparty
may re-key the store; provided, however, that the Debtors shall seek a Rejection Date for a
Specified Lease that is earlier than the Objection Deadline only if the Rejection Notice provides
that the Debtors shall not withdraw the Rejection Notice with respect to such Specified Lease
absent the consent of the applicable Lease Counterparty.

PLEASE TAKE FURTHER NOTICE that, if an Objection is timely filed and properly
served as specified above and not withdrawn or resolved, the Debtors shall schedule a hearing on
such Objection. lf the Objection is overruled or Withdrawn, then the Specified Lease to which
the Objection relates shall be rejected as of (i) the Rejection Date, (ii) such other date to which

. the Debtors and the applicable Lease Counterparty may agree, or (iii) as otherwise ordered by the
Court.

PLEASE TAKE FURTHER NOTICE that, if a Lease Counterparty wishes to assert a
claim arising from the rejection of a Specified Lease, the Lease Counterparty must file with the
Debtors’ claims and noticing agent a proof of claim, substantially in the form attached hereto as
Annex C, before the deadline specified in the Notice of Effective Date to be filed by the Debtors
with the Court. The Notice of Ef`fective Date will be made available, together with other
documents relating to lease rejections, on the website maintained by the Debtors’ claims and
noticing agent, at http://dm.epiqll.com/MFLeaseRejection. If a Lease Counterparty fails to
timely file a proof of claim, the Lease Counterparty shall be forever barred from asserting a
claim for damages arising from the rejection of the applicable Specified Lease and from
participating in any distributions made in connection with these chapter ll cases on account of
such claim, Proofs of claim and instructions for submission may be also obtained at
http://dm.epiql l.com/MFLeaseRej ection.

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Dated:

,2018

Wilmington, Delaware

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SIDLEY AUSTIN LLP
Bojan Guzina

Matthew E. Linder

Michael Fishel

Blair M. Warner

One South Dearbom Street
Chicago, Illinois 60603
Telephone: (312) 853-7000
Facsimile: (312) 853-7036

-and-
YOUNG CONAWAY STARGATT & TAYLOR, LLP

 

Robert S. Brady (No. 2847)
Edmon L. Morton (No. 3856)
Ashley E. Jacobs (No. 5635)
1000 North King Street
Wilmington, Delaware 19801
Telephone: (302) 571-6600
Facsimile: (302) 571-1253

PROPOSED ATTORNEYS FOR THE DEBTORS
AND DEBTORS IN POSSESSION

 

 

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. Annex A

Specified Leases to Be Rejected

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Form of Rejection Order

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. IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
In re: Chapter ll
MATTRESS FIRM, INC., et al.,1 Case No. 18-12241 (CSS)
Debtors. (Jointly Administered)
Ref. Docket No. _

 

 

ORDER (I) AUTHORIZING DEBTORS TO (A) REJECT
CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL REAL
PROPERTY AND (B) ABANDON CERTAIN PERSONAL PROPERTY

IN CONNECTION THEREWITH AND (II) GRANTING RELATED RELIEF
Pursuant to and in accordance with the Order (I) Approving Procedures for Rejecting
Unexpired Leases of Nonresidential Real Property, (II) Authorizl`ng the Debtors to Enter Into
Amendments to Certaz`n Unexpired Leases of Nonresidential Real Property, and (III) Grantz`ng
. Related Relief [Docket No. _] (the “Reiection Procedures Order”)2 entered in the above-
captioned chapter 11 cases of Mattress Firm, Inc. and its affiliated debtors and debtors in
possession (collectively, the “M”); and the Debtors having properly filed with this Court
and served on the Rejection Notice Parties a notice (the “Rejection Notice”) of their intent to
reject certain unexpired leases specified on Schedule 1 hereto (the “Specified Leases”) in
accordance with the terms of the Rejection Procedures Order; and such notice having been

adequate and appropriate under the circumstances; and it appearing that no other or further notice

need be provided; and no timely objections having been filed to the Rejection Notice; and the §
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l The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
noticing and claims agent at http://dm.epiql l.com/MattressFirm or by contacting counsel for the Debtors.

2 All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
. Rejection Procedures Order.

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. Court having found that the relief requested is in the best interests of the Debtors’ estates, their
creditors and other parties in interest; and after due deliberation and sufficient cause appearing
therefor, it is HEREBY ORDERED THAT:

l. The Specified Leases set forth on Schedule 1 are hereby rejected as set forth
herein, effective as of the latest to occur of the following: (i) the Rejection Date specified in the
Rejection Notice; and (ii) the date on which the Debtors surrender possession of the store subject
to the relevant Specified Lease to the Lease Counterparty by notifying the affected Lease
Counterparty in Writing thereof and (A) have turned over the store keys, key codes, or security
codes, if any, to the Lease Counterparty or (B) have notified the affected Lease Counterparty in
writing that the store keys, key codes, or security codes, if any, are not available and that the

Lease Counterparty may re-key the store; provided, however, that the Debtors shall seek a

 

. Rejection Date for a Specified Lease that is earlier than the Objection Deadline only if the
Rejection Notice provides that the Debtors shall not withdraw the Rejection Notice with respect
to such Specified Lease absent the consent of the applicable Lease Counterparty.

2. Any and all Personal Property remaining at the leased premises as of the
applicable Rejection Date shall be deemed abandoned upon the Rejection Date without further
notice or order of the Court, free and clear of all liens, claims, interests, or other encumbrances.
Any Lease Counterparty or other designee shall be free to dispose of any such items without
notice or liability to any party, The right of any Lease Counterparty, if any, to file a claim for the
costs of disposal of such property is fully reserved, as is the right of all parties in interest to
object to such claim,

3. lf a Lease Counterparty wishes to assert a claim arising from the rejection of a

Specified Lease, the Lease Counterparty shall file a proof of claim with the Debtors’ claims and

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noticing agent before the deadline specified in the Notice of Effective Date to be filed by the
Debtors with the Court. The Notice of Effective Date will be made available, together with other
documents relating to lease rejections, on the website maintained by the Debtors’ claims and
noticing agent, at http://dm.epiqll.com/MFLeaseRejection. If a Lease Counterparty fails to
timely file a proof of claim, the Lease Counterparty shall be forever barred from asserting a
claim for damages arising from the rejection of the applicable Specified Lease and from
participating in any distributions made in connection with these chapter 11 cases on account of
such claim. Proofs of claim and instructions for submission may be obtained at
http://dm.epiql 1 .com/MFLeaseRejection.

4. Nothing contained in this Order is intended to be or shall be construed as (a) an
admission as to the validity, priority, or amount of any particular claim against a Debtor entity;
(b) a waiver of the Debtors’ or any other party-in-interest’s rights to dispute any particular claim
on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication or
admission that any particular claim is of a type specified or defined in the Rejection Procedures
Order or the Rejection Notice; or (e) a waiver or limitation of the Debtors’ or any other party-in-
interest’s rights under the Bankruptcy Code or any other applicable law.

5. Notwithstanding entry of this Order, nothing herein shall create, or is intended to
create, any rights in favor of or enhance the status of any claim held by, any party.

6. The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

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. 7. This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation and enforcement of this Order.

 

Dated: , 2018
Wilmington, Delaware CHRISTOPHER S. SONTCHI
CHIEF UNITED STATES BANKRUPTCY JUDGE
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Specified Leases

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. Annex C

Proof of Claim Form

 

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